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IN THE UNITED STATES DISTRICT coURT `“' D'c'
FOR THE WESTERN DISTRICT OF TENNESSEE 05 AUL; 25 p
WESTERN DIVISION H 5= 00

 

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UNI'I'ED STATES OF AMERICA
Plaintiff,

VS CR. NO. 04-20237-Ml

REGINALD MCWILLIAMS

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Defendant{s) )
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ORDER ON CON'I'INUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause was set for a Report Date on Friday, August 26, 2005 at
9:00 a.m. Counsel for the defendant requested a continuance of the
present setting. The continuance is necessary to allow for additional
preparation in the CaSe.

The Court granted the request and continued the matter for a Report
Date to Friday, September 23, 2005 at 9:00 a.m. with a trial date of
Monday, October 3, 2005.

The period from September 16, 2005 through October 14, 2005 is
excludable under 18 U.S.C. § 3161(h)(8)(B)(iv) to allow defense counsel
additional time to prepare.

IT IS SO ORDERED this the ¢?LF day of August, 2005.

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J N PHIPPS MCCALL.A
ITED STATES DISTRICT J`UDGE

 

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UNITED sTATE DISTRIC COURT - WETERN D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 58 in
case 2:04-CR-20237 Was distributed by faX, mail, or direct printing on
August 30, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

